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United States District Cou'rt___` d o

WESTERN DISTRICT oF TENNESSEE *'“9“?"“%1‘~§“‘013‘ gm g

  

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Eastern Division rig ;;.;. m

Woor)RlDoE ToWNHoMEs, GP JUDGMENT |N A ClVlL CASE
v.
AUTO-OWNERS INSURANCE CO. CASE NU|V|BER: 05-1118-T/An
Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered

lT iS ORDERED AND ADJUDGED that in compliance With the order entered in

the above-styled matter on 06/24/05, P|aintitf's motion to remand is GRANTED. This
action is remanded to the Chancery Court of |Viadison County, Tennessee.

APPROVED:

LB.QVM

JAM D. TODD
D STATES DISTRICT JUDGE

 

 

 

 

THOMAS M. GOULD
CLERK

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DATE ' DEPUTY CI`LERK

 

 

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Honorable J ames Todd
US DISTRICT COURT

